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                                      Cote lightweight         erewneek cropped    tee in black with   a yellow   Los Angeles California   104   lightning

                                      graphic



                                      Fabrics      i00 Cotton
                                      Measurements              17   length   ie bust

                                      Made irt         Italy




                                      QUANTIT




                                      MORE      INFO




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